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                                                    UNITED STATES DISTRICT COURT
                                                              FOR THE
                                                        DISTRICT OF VERMONT


                    UNITED STATES OF AMERICA,                           )
                         Plaintiff                                      )
                                                                        )
                                       v.                               )        Case No. 5:19-cr-00076
                                                                        )
                    ARIEL QUIROS, WILLIAM KELLY,                        )
                    WILLIAM STENGER,                                    )
                         Defendants                                     )


                                                 INDEX OF EXHIBITS TO
                             DEFENDANT WILLIAM STENGER’S PETITION FOR WRIT OF CORAM NOBIS


                      Exhibit No.                                  Description                             Pages
                             1         2/4/15 Memorandum from Smith to Cassetty                             3

                             1a        2/3/15 Memorandum from Smith to Cassetty                             2

                             2         1/22/15 E-mail from Pieciak to Kessler                               4

                             3         U.S. v. Stenger, Transcript of 8/13/21 Change of Plea Hearing        32

                             4         4/13/15 Confidential DFR Memo                                        2

                             5         U.S. v. Stenger, Transcript of 4/14/22 Sentencing Hearing            86

                             6         4/12/15 E-mail from Miller to Donegan                                3

                             7         Excerpts from David Cassetty 12/19/22 Deposition, Sutton v. ACCD,    10
                                       Doc. No. 100-5-17 Lecv

                             8         3/30/22 Subpoena to Attorney General Donovan                         5

                             9         Attorney General Privilege Log                                       19

                             10        2/23/23 Entry Order, Sutton v. ACCD, Doc. No. 100-5-17 Lecv          8

                             11        Donegan IRS and FBI interview reports (unsealed by Court Order,      13
                                       1/19/22, Doc. 405)




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                             12        Pieciak IRS and FBI interview reports (unsealed by Court Order,     10
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                             13        Elizabeth Miller FBI interview report (unsealed by Court Order,     8
                                       1/19/22, Doc. 405

                             14        Metadata for DFR Internal discussion documents disclosed to         4
                                       Plaintiff’s counsel in Sutton v. ACCD, Doc. No. 100-5-17 Lecv, in
                                       March 2023

                             15        DFR Internal discussion documents located in “White Notebook        21
                                       from Sarah”

                             16        Undated Privilege Log, Sutton v. ACCD, Doc. No. 100-5-17 Lecv       28

                             17        2/6/15 E-mail from Kessler to Pieciak                               2

                             18        2/11/15 E-mail from Moulton to Kessler                              3

                             19        2/12/15 E-mail from Kessler to Raymond                              2

                             20        2/12/15 E-mail from Kessler to Raymond                              2

                             21        2/9/15 E-mail from Donegan to Kessler                               2

                             22        7/14/16 E-mail from Pieciak to London re Jay Peak Timeline          6

                             23        Edwards Wildman preliminary report, 11/3/14                         5

                             24        DFR/ACCD Press Release, 2/19/15                                     3

                             25        7/9/14 Letter from Kessler to Quiros, Stenger and Kelly             6




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